     Case 3:17-cv-02322-BEN-BGS Document 1 Filed 11/15/17 PageID.1 Page 1 of 29

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     Sallie A. Blackman State Bar No. 141830                                   BY I (._                           DEPUTY
 1
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 4

     Attorneys for Plaintiff
 5

 6


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 8

                                 UNITED STATES DISTRICT COURT
 9


10                      FOR THE SOUTHERN DISTRICT OF CALIFORNIA

11

     BETTER LIFE TECHNOLOGIES GROUP,
12

13
     INC.             .                                        I
                                                               .I      '17CV2322 WQHBGS
                                Plaintiff,
14                                                                  COMPLAINT FOR

15
             vs.                                                    1) PATENT INFRINGEMENT,
16
                                                                    2) MISAPPROPRIATION OF
                                                                       TRADE SECRETS
17                                                                  3) BREACH OF CONTRACT
     KAISER PERMANENTE, INC., a nd
ls
     DOES 1 through 10                                              JURY TRIAL DEMANDED
19
                                 Defendant
20

21
       Plaintiff Better Life Technologies Group, Inc. ("Plaintiff') hereby alleges as follows:
22
        I.         This is a civil action for patent infringement, breach of contract, and
23
             misappropriation of trade secrets. Plaintiff secured a patent for technology for a
24

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                                               COMPLAINT

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      Case 3:17-cv-02322-BEN-BGS Document 1 Filed 11/15/17 PageID.2 Page 2 of 29




 1          wireless wearable device designed for patients suffering from diabetes, heart

 2          conditions, and other medical conditions which require monitoring. Plaintiff's

 3          technology is stored and transmitted via a wristband or other wearable devices

 4          worn by patients. The wristband or other wearable devices allow patients to

 s          communicate back and forth with their doctors to report and monitor their medical

 6          conditions. This technology is a unique and lucrative trade secret which Plaintiff

 7          shared with Defendant Kaiser Permanente, Inc. ("Defendant") signed a contract in

 s          which Defendant agreed not to disclose this trade secret. Defendant breached the

 9          contract, misappropriated Plaintiffs trade secrets, and infringed on Plaintiff's

io          patent by sharing Plaintiffs patented technology and trade secrets with Plaintiffs

11          competitors, and helping Plaintiffs competitors develop wireless wearable devices

i2          based on Plaintiffs trade secrets and patented technology. Plaintiff suffered

J.3         millions of dollars in damages from Defendant's patent infringement, breach of

14          contract, and misappropriation of Plaintiff's trade secrets.

is                                            PARTIES

16       2. Plaintiff Better Technologies Group, Inc. has its principal place of business in San

i7          Diego, California.

18       3. On information and belief, Defendant Kaiser Pennanente, Inc. has its principal

J.9         place of business in Oakland, California.

20       4. The true names and capacities of the Defendants, DOES 1 through 10, inclusive,

21          whether individual, corporate, associate or otherwise, are unknown to Plaintiff at

22          the time of filing this Complaint and Plaintiff, therefore, sues said Defendants by

23          such fictitious names and will ask leave of court to amend this Complaint to show

24          their true names or capacities when the same have been ascertained. Plaintiff is

25
                                            COMPLAINT

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1            infonned and believes, and thereon alleges, that each of the DOE Defendants is, in

2            some manner, responsible for the events and happenings herein set forth and

3            proximately caused injury and damages to the Plaintiff as herein alleged.

4

        5. At all times herein mentioned, each of the Defendants was the agent, servant and
 5


6
             employee of each of the remaining Defendants, and was, at all times herein

7            mentioned, acting within the scope of said agency and employment.

 8
                                    JURISDICTION AND VENUE
 9

        6.   This is a civil action for patent infringement arising under the patent laws of the United
10

             States of America, 35 U.S.C. Section 1, et. Seq.
11
              I'
        7.   This Court has jurisdiction over the subject matter of the Complaint pursuant to 28
12
               :i
             U. S .C. Sections 1331 and 1338.
13

        8. This Court has pendent jurisdiction over the California Causes of action alleged in this
14

             complaint.
15

        9. This Court has personal jurisdiction over Defendant because Defendant has a continuous,
16

             systematic, and substantial presence in the State of California.
17

        10. Venue is proper under 28 U.S.C. Sections 1391(b)(3) and 1400.
18


19
                                    FACTUAL ALLEGATIONS
20


21
        11. Plaintiff invented a unique technology and device which detect and monitor heart


22
             rate. Plaintiffs technology may be implemented in wristbands and other wearable

23
             devices. Plaintiffs technology has functions, features, detection, and other

24           capabilities which were not available before Plaintiff shared its trade secrets with

25
                                                COMPLAINT

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     Case 3:17-cv-02322-BEN-BGS Document 1 Filed 11/15/17 PageID.4 Page 4 of 29




1          Defendant. Plaintiff is the inventor of this proprietary technology. Plaintiff shared

2          its proprietary information and trade secrets with Defendant pursuant to a contract,

3          a non-disclosure agreement, which was entered into by Plaintiff and Defendant,

4          the effective date of which was on or about June 2012 ("the contract"). Defendant

5          misappropriated the trade secrets which were disclosed by Plaintiff to Defendant

6          pursuant to the contract. Defendant used Plaintiff's trade secret technology t o ente

7          into business relationships with Plaintiffs competitors, and to earn income from

 a         those business relationships. Defendant helped developed wireless wearable

 9         devices based on the patented intellectual property and trade secrets of Plaintiff.

10      12. In March 2012, Plaintiff and Defendant met to discuss a strategic partnership

11         between Plaintiff and Defendant. After the meeting, Plaintiff requested the

12         contract to protect its patented technology and other trade secrets which it intended

13         to share with Defendant Kaiser, after the contract was signed by Defendant.

14      13. On or about June 2012, Plaintiff and Defendant entered into the contract to pursue

15         the strategic partnership. Paragraph 8 of the contract states that no rights to use

16         technology are granted. Paragraph 9 of the contract states that neither Plaintiff nor

17         Defendant is relieved of the obligations with respect to proprietary infonnation

1a         shared pursuant to the contract, even if either party to the agreement terminates the .

19         agreement. Paragraph 11 of the contract states that Plaintiff and Defendant both

20         understand that any misuse or sharing of proprietary information which was

21         disclosed pursuant to the contract constitutes a breach of the contract. The contract

22         specifies that, in the event of any breach of the contract, Plaintiff and Defendant

23         agree that material and irreparable harm is presumed by both Plaintiff and

24         Defendant.

25
                                           COMPLAINT

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1       14. After Plaintiff and Defendant signed the contract, Plaintiff provided Defendant

2          with Plaintiff's patented technology and other trade secrets related to its

3          technology for detecting heart rate and monitoring medical conditions. After

4          Plaintiff's trade secrets and patented technology were provided to Defendant,

5          Plaintiff's senior officers met with Defendant's senior officers. During these

6          meetings, on or about June 2012, Plaintiff and Defendant discussed an innovative

7          technological solution for monitoring human bioactivity signals and location

 8         information in a medical wristband device.

 9      15. On or about late 2016, Plaintiff discovered that Defendant had used Plaintiff's

10         proprietary trade secrets to enter into business relationships with Plaintiff's

11         competitors and had derived income from providing Plaintiff's trade secrets to

12         Plaintiff's competitors and other     �
                                               ln uthorized recipients. Defendant publicly
13                                               i
           announced at least one of those bus ness relationships in late 2016. The public

14         announcement revealed that Defendant used Plaintiff's lucrative trade secrets to

15         enter into Defendant's business relationship with Plaintiff's competitors, and that

16         Defendant had breached the contract.

17      16. On March 21, 2017, Plaintiff sent a cease and desist letter to Defendant

18         demanding that Defendant cease using Plaintiff's proprietary information and

19         trade secrets and account for the profits Defendant has wrongfully obtained.

20         Plaintiff's March 21, 2017 cease and desist letter demanded that Defendant

21         purchase a license before resuming use of any of Plaintiff's proprietary

22         infonnation or trade secrets.

23      17. On June 6, 2017, Plaintiff sent a letter to Defendant outlining, in detail, the


24         discussions between Plaintiff and Defendant, beginning in early 2012, which led

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                                            COMPLAINT

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     Case 3:17-cv-02322-BEN-BGS Document 1 Filed 11/15/17 PageID.6 Page 6 of 29




 1         to both parties signing the contract. Plaintiffs June 6, 2017 letter identifies the

 2         individuals who met with Plaintiffs senior officers and the matters discussed at

 3         those meetings, including then pending US Patent No. 8,659,435 and its various

4          applications, applications of Plaintiffs technology in monitoring human vitality

 5         and sending data to remote locations and medical professionals, para-professionals

 6         and caregivers, integration of Plaintiffs technology in Defendant Kaiser's patient

 7         care system, Plaintiffs technology for use in monitoring human bioactivity signals

 s         and location infonnation in a medical wristband device, and other trade secrets.

 9      18. On June 30, 2017, Plaintiff sent Defendant a cease and desist letter which

1o         reiterates the information contained in Plaintiffs June 6, 2017 letter to Defendant.

11         Plaintiffs June 30, 2017 letter demands that Defendant "cease all use of their

12         [Plaintiffs] proprietary infonnation and account for the profits it has wrongfully

13         obtained thereby, demanding further that Kaiser Permanente purchase a license

14         before resuming use" of any of Plaintiffs proprietary information and trade

15         secrets.

16      19. United States Patent No. 8,659,435 was duly and legally issued by the Unit�d

17         States Patent and Trademark Office. A copy of United States Patent No. 8,659,435

rn         is attached hereto as Exhibit A.

19     20. United States Patent No. 8,659,435 has been in force and effect since the issuance.

2o         Plaintiff has been, at all times, and still is, the owner of the entire right, title, and

21         interest i n and to United States Patent No. 8,659,435.

22     21. Defendants use, sell, and/or offer to sell infonnation o r products throughout the

23         United States which infringe United States Patent No. 8,659,435.

24


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                                             COMPLAINT

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     Case 3:17-cv-02322-BEN-BGS Document 1 Filed 11/15/17 PageID.7 Page 7 of 29




1       22. Defendants infringed one or more claims in United States Patent No. 8,659,435

 2         in the United States within the meaning of 35 U.S.C. Section 271.

 3                                    FIRST CAUSE OF ACTION

4               (INFRINGEMENT OF UNITED STATES PATENT NO. 8,659,435)

 5      23. Plaintiff realleges and incorporates the previous paragraphs of this Complaint as

 6         though fully set forth herein.

 7      24. Defendant has used, offered for sale, sold, and/or imported into the United States

 s         products, including, at least, the sale o f Plaintiffs patented trade secrets to

 9         Plaintiffs competitors, and the use of Plaintiffs patented trade secrets and

10         technology to create wireless wristband devices, which literally and under the

11         doctrine of equivalents infringe one or more claims of United States Patent No.

12         8,659,435 in violation of 35 U.S.C. Section 271.

13      25. Plaintiff has been damaged and has suffered irreparable injury due to acts of

14         infringement by Defendant and will continue to suffer irreparable injury unless

15         Defendant's activities are enjoined.

16      26. Plaintiff has suffered and will continue to suffer substantial damages by reason of

17         Defendant's acts of patent infringement alleged above, and Plaintiff is entitled to

1s         recover from Defendant the damages sustained as a result of Defendant's acts.

19


20                        SECOND CAUSE OF ACTION

21                         (BREACH OF CONTRACT)

22      27. Plaintiff realleges and incorporates the previous paragraphs of this Complaint as

23         though fully set forth herein.

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                                            COMPLAINT

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        28. Plaintiff and Defendant entered into a non-disclosure contract which protects
 1

 2         Plaintiffs trade secrets and which created a confidential relationship between

 3         Plaintiff and Defendant, the entity to whom Plaintiffs trade secrets were

4
           disclosed. The contract identifies Plaintiffs confidential trade secrets which

 5
           Defendant agreed not to divulge. All information exchanged between Plaintiff
 6

           and Defendant was considered confidential, including, without limitation, all
 7

           information concerning Plaintiffs fonnulas, patterns, devices, techniques,
 8

 9         technology, and plans for use of that technology.

10      29. Defendant breached the contract by divulging Plaintiffs trade secrets and

11
           profiting from the disclosure of Plaintiffs trade secrets. Defendant's
12
           breach of the contract caused harm to Plaintiff. Plaintiff seeks damages from
13
           Defendant for Defendant's breach of the contract.
14

15
        30. Plaintiff perfonned all obligations required of it under the contract.


16      31. Defendant failed to perform its obligations and duties under· the contract, without

17         j ustification or excuse.
18
        32. Plaintiff suffered millions o f dollars in damages as a result of Defendant's
19
           breach of contract. Plaintiff's damages were caused by Defendant's breach of
20

           contract.
21

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                                            COMPLAINT

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 1                                  THIRD CAUSE OF ACTION

 2                       (MISAPPROPRIATION OF TRADE SECRETS)

 3

        33. Plaintiff realleges and incorporates the previous paragraphs of this Complaint as
4

 5         though fully set forth herein.

 6      34. Defendant misappropriated Plaintiffs trade secrets described in United States

 7
           Patent No. 8,659,435, Plaintiff's trade secrets described in the contract, and trade
 8
           secrets shared by Plaintiff in the meetings held between Plaintiff and Defendant
 9
           after the contract was effective, after June 2012. Plaintiffs trade secrets derive
10

           independent economic value from not being publicly known. Plaintiff employed
11

12         reasonable measures to protect the secrecy of its trade secrets by requiring

13         Defendant to sign a non-disclosure agreement before Plaintiff disclosed its trade

14
           secrets to Defendant.
15
        35. Plaintiff shared the trade secrets described in United States Patent No. 8,659,435
16
           as wells as techniques for using those trade secrets in a wearable medical device
17

18
           with Defendant, pursuant to the contract. Plaintiff shared additional trade secrets


19         that are not described in United States Patent No. 8,659,435 with Defendant

20         during meetings with Defendant's senior officers, after the contract was signed.

21
        36. Plaintiff invented and owned unique technology and data which is capable of
22
           protection as a trade secret. The trade secrets were disclosed to Defendant
23

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                                            COMPLAINT

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     Case 3:17-cv-02322-BEN-BGS Document 1 Filed 11/15/17 PageID.10 Page 10 of 29




            pursuant to a non-disclosure contract which prohibited Defendant's use or
 1

 2          disclosure of Plainti fl"s trade secrets, to the detriment of Plaintiff.

 3       37. Plaintiff suffered damages as a result of Defendant's misappropriation of

 4
            Plaintiffs trade secrets. Defendant's misappropriation of Plaintiffs trade secrets

 5
            caused Plaintiffs money damages.
 6
                                  PRAYER FOR RELIEF
 7


 s          WHEREFORE, Plaintiff prays that judgment be entered by this Court in its favor

 9    and against Defendants as follows:

10          A. That Defendant has infringed the United States Patent No. 8,659,435 patent.

11          B. Permanently enjoining and restraining Defendant, its agents, affiliates,

12              subsidiaries, servants, employees, officers, directors, attorneys and those

13              persons in active concert with or controlled by Defendant from infringing

14              United States Patent No. 8,659,435;

15          C. For an award of damages adequate to compensate Plaintiff for the damages it

16              has suffered as a result of Defendant's conduct, including pre-judgment

11              interest;

1s          D. For an award of damages in the amount of $50,000,000.00.

19          E. That Defendant be directed to withdraw from distribution of all infringing

2o              technology and products, whether in the possession of Defendant or its

21              distribution or resellers, and that all infringing products or materials be

22              impounded or destroyed.

23          F. For additional monetary damages for patent infringement, breach of contract,

24              and misappropriation of trade secrets, in an amount according to proof.

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                                              COMPLAINT

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 1         G. For interest on said damages at the legal rate from and after the date such

 2              damages were incurred;

 3         H. That this is an exceptional case and for an award of Plaintiffs attorney's fees

 4              and costs;

 s         I.   For such other relief as the Court may deem just and proper.

 6                                DEMAND FOR JURY TRIAL

 1         Plaintiff hereby demands a jury trial as to all issues that are so triable.

 8

                                                           Respectfully Submitted
 9


      DATED: November 9, 2017                         By: ls/Sallie A. Blackman
10


11                                                         Sallie A. Blackman
                                                           Attorney for Plaintiff
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     Case 3:17-cv-02322-BEN-BGS Document 1 Filed 11/15/17 PageID.12 Page 12 of 29




 1
                                   CERTIFICATE OF SERVICE
 2
         The undersigned hereby certifies that a true and correct copy of the above and
 3

      foregoing document has been served on November 9, 2017 to all counsel who are
 4

      deemed to have consented to electronic service via the Court's CM/ECF system per Civil
 5


 6    Local Rule 5.4. Any other counsel of record will be served by electronic mail, facsimile

 7    and/or overnight delivery.

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   (12)         United States Patent                                                                     (JO) Patent No.:                       US 8,659,435 B2
                McKinney                                                                                 (45) Date of Patent:                              Feb.     25, 2014

   (54)          WA'l'lclU'RO<W O l'TICALLY��l•:NSING                                                      1,41s,212     n2�·    8/2008 Mnlsushitn el nl . . .... ...... 398/140
                                                                                                       2007/0222970      Al'     912007 Haan cl al . ......... .......... 35614.08
                 FIBERLESS.Ol'TICALLY-COMMUNlCATING
                                                                                                       2008/0266118      Al' 10/2008 Pierson ct al. ..... ... .... . 3401573.6
                 VITALIJY MONITORING AND ALARMING                                                      2009/0263581      Al    l 0/2009 Martin, Ill ct al.
                 SYSTEM, l'ARTICULARLY FOR SWIMMERS                                                    2009/0263641      AI    10/2009 Martin, Ill cl al.
                 AND INFANTS                                                                           2009/02955(J6     Al"' 12/2009 Weintmub ..... .... ..... . 340/539.11
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                                                                                                       2010/0056878      Al*     3/2010 Partin ct nl. . ... ....... ... ..... 600/301
   (76)          Inventor: George Anthony McKl1111cy, San                                              20 I0/0324387     A I ' 12/2010 Moon ct nl. . ................ .. 600/324
                           Diego, CA (US)                                                              2011/0309755      Al' 12/2011 Wirthclnl. ...... .. ..... .. .... 315/151

   (   "'   )    Notice:        Subject' to any disclain1cr, thctcr111 of11lis                       "' cited by exa1niner
                                patent is extended or adjusted under 35
                                                                                                     Pri111a1J1 Exa111i11er-Cicorgc Bugg
                                U.S.C. 154(b) by 261 days.
                                                                                                     A.�.�islant Exa111iner - Anthony I) Afr ifa-Kyci

   (21)          Appl. No.: 12n98,40t                                                                (74) Attornt?J'• Agent, or f'in11 - Knobbe, Martens, Olson &
                                                                                                     Bear,LLP
   (22)          Filed:             A p 1·.2, 2010
                                                                                                     (57)                           ABSTRACT
   (65)                                Prior Publication Data                                        The vitality of n swin1mcr, or of a child, is 111011itorcd by a
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                 \IS 2011/0241887 A l                    Oct. 6, 2011
                                                                                                     heart activity, electrically connected tu (2) a microprocessor
   (51)          Int.Cl .
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                                                                                                     ity has stopped. When and if required, the n1icroprocessor
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   (58)          Field of Classification Search                                                      audio and/or visual alarm that, when sensed hy o human,
                 llSPC                                        3401573.6                              potentially timely pennits rescue and resuscitation of the
                 See application file for con1plctc search hiKtory.
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   (56)                                References Cited
                                                                                                     roughly ten tin1es fa Rter and more capable, with but one-tenth
                            U.S. PATENT DOCUMENTS                                                    the power consu1nption, than previous real�ti1ne biological
                                                                                                     motrltoring systems.
                6,539,400 Bl "'          3/2003 Bloomfield ct nl. . ..... ... . ....... . l/J
                6,788,197 Bl "'          9/2004 Thnilln.rd ct nl. . .......... . , 340/522                               2S (�)alms, 6 Drawing Shi;?cts
Case 3:17-cv-02322-BEN-BGS Document 1 Filed 11/15/17 PageID.14 Page 14 of 29



   U.S. Patent               Feb.   25, 2014   Sheet l of 6   US 8,659,435 B2




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    U.S. Patent                          Feb.25,2014                    Sheet 2 of 6       US 8,659,435 B2




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            20                           4             115
                                                                       FIG. 1B




                                                                       FIG. 2A2
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                                                                           11A,B
                                              11A,B'



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                                                                        11A,B3



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                                                FIG. 2B




                         FIG. 2C
Case 3:17-cv-02322-BEN-BGS Document 1 Filed 11/15/17 PageID.17 Page 17 of 29



    U.S. Patent                      Feb. 25, 2014               Sheet 4 of 6                   US 8,659,435 B2




                                                                                       FIG. 3

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                      FIG. 4A                          ,,- -1112                    WATER                FIG.   48                          --=
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             I                                                            I                                           11121

             I                                                            I
                                                                      "
             I                                                            I                                           �
                                                                                                                      12A,B
                                                                                                                                            �
             I                                                            I
                                                                                                                                            QC
                                                                                                                                            "'
                                                                                                                                            UI


             L                                                     ---- _J                                                                  �
                                                                                                                                  FIG. 4B
                 ______                                     _


                                                                                                                                            Ul

                                                                                                                                            Cd
                                                                                                                                            N
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                                                        ACTIVE MODE
               FIG. 5                                   READ SENSOR
                                                       PROCESS DATA
                                                         BROADCAST
                                                       SLEEP REQUEST




                                                   STORE SYSTEM STATE
                                                     RESET PROCESSOR
                                                     DISABLE MEMORIES
                                                  POWER GATE REGULATOR
                                                   SLOWDOWN SCN CLOCK
                                                    START SLEEP TIMER




                                                        SLEEP MODE
                                                     RECHARGE BATTERY
                                                     FOR N MILLISECONDS




                                                     TURN ON REGULATOR
                                                     SPEED UP SCN CLOCK
                                                       ENABLE MEMORIES
                                YES                   START PROCESSOR



             NO

                                                READ EARLOBE/THUMB WEB
                                                     HEART SENSOR
                                                    LOG HEART DATA




                        STORE
                                               YES
                     BLUE/GREEN
                     LIGHT SIGNAL
                     IN ROTATION

                      .._
                  ,...___        __._, 12A,B

          1...--... 1TRANSMITALARM
                        SIGNAL
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                                                            US 8,659,435 B2
                                    l                                                                        2
            WAl'lml'ROOll Ol''l'ICALLY-S�:NSING                             persons in concerl, such ns during the sinndtaneous1y n1oni­
       1•'18EltLicSS-Ol' TICALl,Y-COMMU NICATING                            toring of hun<lrcds of persons in u swinuning pool,
          VITALITY MONl'l'ORING ANDALARMING                                     2.1 The Problc111 of Drowning Whi le Swintming, Including
         SYSTl�M, l'ARTICULAIU,Y FOR SW IMMEllS                             in Supervised Swhnnting Pools
                            A N ll INl•'ANTS                                     As related in U.S. patent applicution No. 20080266118 to
                                                                            Nicholas J. Pierson, cl ul., "[t]hedangcrs of uecidenlal drown­
                BACKGROUND OF THE INVENTION                                 ing arc reeognizc..>d, with pnrents keeping tltcir children uwuy
                                                                            front the water imless under constant supervision, and
       1. Field of the Jnvention
                                                                            attentpting to teach their children to swin1 as early as possible.
       TI1e present inveulion gcnernlly concerns personul sulCly 10
                                                                            Yet, drowning is the second leading cause of accidental death
   systems and n1cthods, and n1ore particularly, systems and
                                                                            in children, und drowning related injuries arc the fifth ntost
   1nethods 10r 111011itoring a 11erso11 or persons and tilncly iden�
                                                                            likely cause of accidental death in the United States presently.
   lifying n person experiencing an e1nergency physical condiw
   lion. In purticuhtr, the systern and method of tbc present               J)rowning accidents can occur in all age groups, but particu-
   invention concerns detecting and alunning a swhumer that 15 lurly is of conccnt with children between dte ages of I nnd 4
   1uay he in initial stages of drowning, or any person having a n          years old and in teenage children� and ntany thncs ClUl be
   �1sphyxiu event such u s baby i n a nursery potentil1tly stricken        caused by non-supervision, horsepluy, und duredevit stunts.
   with Sudden Infant J)cath Syndrnn1c.                                     Other factors, such as alcohol or other impainnent cru1 also
       'l11c personal and site satCty systcn1 and methods of the            lead to drowning accidents. Near-drowning accidents are
   present inventiou---directed to providing. detection of n pos­ 20 described as survival after sutlbcntion caused by sub111ersion
   sible drowning person or person experiencing asphyxiu�                   in a liquid. J)rowning accidents arc described as events in
   will he seen to use heart rote or puJsc rutc 1nonitoring, or the         which u victhn dies within 24 hours after having been sub-
   monitoring of other pbysiological syste1ns that indicate a               111erged in a liquid. Generally, when a person bccon1es sub-
   person in distress or drowning, und thus concerns these f unc­           1nerged, they hold their bret1th until they cannot do so w1y
   tions also. 'Jllc preferred systcn1 nlay in particular include ( I ) 25 longer, with the thnc for this to occur being dependent so1ne­
   a cardiac 111onitoring systcin and alarn1 indicator o r transn1it­        what on that person. If the person is still conscious, they 111ay
   ter systen1 won1 by a person; with (2) a variety of other                 try to gasp for air, aspirating water into the lungs. For many
   fw1ctio11s optionally provided, such as locution n1011itoring,            fhcilities, such us lakes, pools, be11chcs or the like, lifeguurds
   sound 1nonitoring1 dala recording, and olher desired tl111c­             arc hired to attcntpt to Jll'L'Vent injuries or drownings, rcquir-
   tion.:;.                                                              3o ing significru1t expense and expertise. Even with lifeguards on
       Finally, the systems and inethods of the present invention           duty, drownings still occur each yeur.
    will he seen to concern an alann receiver systcnt, located                   "'Although there have hccnattcntpts to pn.-vcnt drowning in
   relative to the person wearing dtc monitoring syste111 (such as           pools or the like, particuJarly where there may be nn lifeguard
   relative to the person's locution in u body of water), wherein            on duty, such attempts have nol gained acceptance, 11s they
    an alar111 indication is detected and co.llllnunicated lo e1ner­ 35 have been expensive and/or ineffective for many applications.
   gency responder or to safety personnel, or to others.                     For example, anti-drowning systcn1s have included devices
        2. Background of the Invention                                       carried by a non-swinuuer that signal a receiver upon contact
        Unlike the systen1s and n1ethods of t11c prior mi, thcsystcn1        with the water. Although assisting where a user is attc1npting
    and n1cthod of the present invention will be seen to possess             to keep a person out ofthe water, such as a snudl child, such
    certain unique attributes printarity, including as are directed 40 devices are li1uited and don't assist while a person is swi111-
    to ease of use and maintenance.                                          ntlng. Other systems have been developed fbr pools wltlch
        In particular, the syslein und 1nethod of the present inven­         use W1 urray of ctu11en1s and sopbisticuted softwuro lo attentpt
    tion will be seen to preferably incorporate (1) wearable min­            to detect an unmoving person under the water, such systc1ns
   iaturized heru1beat/cardiac sensor units are both compact and             being expensive und prone to ditliculties in use,
    easily donned and won1 (upon the ear Jobes1 or the web of the 45             "It would b e desirable to 111ore effectively ntonitor people
    hand); (2) portable/wearable systc1n clentcnts that 1.1rcrc1iablc        for wnter safCty to facilitate pl'L"Vcnting drowning or other
    and require hut n1inimal n1aintcnn11cc in use, being that the            cases of asphyxiation accidents, with a sin1plc but effective
    sole ele111ent that is preierably botlt portable and wearable            syste111 to accurately and quickly identifY a possible drowning
    incorporates a battery dtat is recharged by u solnr power                peroon or person suffering an asphyxia event, and provide
    cbnrgcr ·thnt is integral to the smno cle111cnt; (3) hcnrtbcut/ so notification of an cntcrgency condition. Tho identification of
    cardiac sensor units ench of which has, nonetheless to being             an asphyxia event, such as a drowning person, as quickly as
    of sub-coin size, a complete microprocessor systent thnt                  possible is i11.1portant, as death can occur injust n few n1iu11tes.
    cm1------shoutd energy resources support und he desired to he so         A sitnplc, reliable, con1pact and ccono1nical device and 1ncth­
    dcvoted--eflCct such recording and diagnosis of heartbeat                ods arc needed. It would also be desirable to he ahJe to detect
    und/or curdiac function thut might be deemed to be n1ore 55 other emergency situ1.1tions, such us choking, apueic events or
    typjc<1l of a digitalized recording electrocardiogrmn than �'             the like."
    1nerc porlnhlc detector orheartbeat so as to detem1inc vila1ity,              2.2 The Prohlcn1 of Sudden lnfont Dcuth Syndrome
    (4) n first ntnjor syste1nS signal path (through the ear lobe, or        ("SIDS")
    the web of the hand) thnt is optical, and thus reliably l'unc­                In the entry "Sudden infonl death syndronte" appearing in
    tional at low puwcr nonetheless to being potentially fully or 60 Wikipcdia, the free encyclopedia of the l nternet, circa 201O,
    partially hnmcrscd, (5) n second ntajor systc1ns con1n11111ica­           it is explained that ..sudden infant death i-;yndrontc (SIDS) or
    tion path (between the wearub]e 111iniaturized heartbeat/car­             crib death is a syndro111c nuirkcd by the sudden death of rut
    diuc sensor unit und an ulunn that is situated in �1ir) tlml is ulso      infi1111 lhut is unexpected by history and re1nains unexplained
    optical, and 1hus again reliably functional at low pnwcrnonc­             after a thorough forensic autopsy and <1 detailed death scene
    thcless to being potentially fi11ly or pnrtinlly immersed, und 65 invesligution.
    ( 6) an ability to use, and optionully to discriminutc umong,                 •'SIDS wus responsible for 0.543 deaths per 1,000 live
    ntany hcar1beat sensors as arc shnultuncously wont by 1u�1ny              bir1hs in the lJ.S. in 2005. 1t is responsible for far fewer deaths
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                                                             us 8,659,435 82
                                    3                                                                             4
   1ha11 congenital disorders and disorders related to short ges­               volt to operate, hut its low-voltage, thin-fihn Cy1uhct battery
   tation, though it is the leading cause of death in healthy infants           puts out close to 4 volts.The vollngc, which is essentially the
   aft:cr one n1011th of uge.                                                   pressure of lhe eleclric current, 111ust be reduced tbr the sys�
       "SJJ)S deaths in the U.S. decreased fron1 4,R95 in 1992 to               ten1 to function ntost cfficicnlly.'111e prcsent invention will b e
   2,247 in 2004. But, during a s i111ibir tilnc period, 1989 to            �   seen to use a 1nuch, much larger and conventional "watch­
   2004, SIDS being listed as the cause of dcuth JOr sudden                     typc" battery, bul the adaptation of the 111icro-powered ci r·
   infunt deuth (SJD) decreust.'<..I frcnu 80% to 550,la, According lo          cui try of the lJniversily of Michigan lo iu1y ntiniuturc buttery
   11r. Jolu1 Kanwinkcl, chainnan of the Center for l>iscasc                    is still in1portnnt to lhe present invention.
   Control (CDC) Special lask Force on SIDS "A lot of us are                       "If we used traditional 111ethods, the voltage conversion
   con ccr n1,,,--d thut the rate (of SIDS) isn't decreasing signifi-       10 process would have consun1cd numy ti111cs more power lhun

   cm1tly, hut that a lot of it is just code shifting" .. ..                    the processor itself uses," said J)cnn is Sylvester, an associate
       2.3 A New MiJlimeter-Scale Microprocessor and Sensor                     professor in electrical and co1nputcr engineering.
   Syste111                                                                        One wuy lhe U-M engineers n111de the volh1ge conversion
       In one of its c1ubodhuents the present invention will be                 n1orc ellicicnt is by slowing the power nmnugc1nent unit's
   seen use the buttery ndaptation--and optionally also the lighti          1 5 clock when the processor's load is light.
   o r solar, power·-developed and reported a s a "Millimctcr­                     "We skip beats if we dctenninc 1he voltage is suilicicntly
   scale, enelbry-harvcstiug sensor systen1" �1bout Feb. 8, 2010.                 sh1ble," Sylvester suid.
       '111is low-power sensor 1>yste111, d<...-vclopcd at theUniversity          'l11c designers arc working with doctors on polential 111cdi­
   of Michigan, is about 1,000 ti111cs s1nallcr than comparable                cal applications.The syste111 could enable less-invasive ways
   co111mercinl counterpnr1s. It is directt.-d to enabling new bio-         20 lo ntonito r pressure clmuges itt lhe eyes, brnin, 1u1d in tnn1ors
   med icul hn plauts (which is not its use in the present inven­              in pt1lie11ts with gluuconu1, head tr..uunu, or cancer. ht the
   lion). The 9-cubic milli111ctcr solnr-po\vcrc.."'<I sensor systc111 is      body, the sensor could conceivably hnrvesl energy fron1
   the smallest that can harvest energy from its surroundings to               inovcmcnt or heat, rather tlrnn light, the engineers say.
   operate nearly perpetually.                                                    111e inventors are cmrunercializing the teclutology through
       'J11c lJ-M systc111•s processor, solar cells, and battery arc all    25 a co111rany lt.>d by Scolt Hanson, t1 research fellow in the
   contained in its tiny fran1ci which n1casurcs 2.5 by 3.5 by 1                Depart1nent ofElcctricnJ Engineering and Coinputer Science.
   millimeters. It is 1,000 ti.J.nes s111nller than co1npnrable com-               The paper is entitled •;Millimeter-Scale Nearly Perpetual
   111ercinl counterparts.                                                     Sensor Syslen1 with Stucked Battery utu.I Solar Cells." TI1is
       TI1c systc111 could enable new biomedical i1nplanls as we11             research is ii1ndcd by the National Science Fow1dation, the
   as borne-, bui lding- and bridge-1uonitoring devices. It could           10 l)cfense Advanced Research l'rqjccts Agency, the National
    vastly itnprove the eJJiciency and cost of current enviromnen-             Institute of Slundurds rind Te chnol ogy, the Focus Center
   lal sensor networks designed to detect i11ovc1nent or track air             Research Program and ARM.
   and water qualily.                                                              2.4 A New Waterproofing Process For Electronics Equip­
       With an industry-standurd ARM Cortex-M3 processor, the                     ments
   system contains the lowest-powered conunercial-clnss                     35      The methods ofU.S.patent applications No.20090263641
   micr ocontmller. It uses about 2,000 tilnes Jess power in sleep                for a METHOD AND APPARA:l'US TO COA:I' OBJECTS
    1node than its n1ost energy�etlicient counlerpar1 on the nlarket              WITH PARYLRNE, and No.220090263581 forn MET HOD
    today.                                                                        AND APPARATUS TO COAT OBJECTS WITll
       111c engineers suy s uccessful use of an ARM proccssor­                    PARYLRNE AND BORON NITRlDE, garnered some noto­
   the industry's 1nost popular 32-bit processor architecture-is            40    riety us publicly.dctnonstratcd during 2009-2010.
   un in1portant step loward conunercial adoption of this tech�                      Doing business as "Golden Sbellbi1ck", the web site of the
    nology.                                                                       enterprise rt.'JlllrlS that the inventions derive front a dile111n1a
        Greg Chen, a co1nputc r science and engineering doctoml                   faced by Sid Martin, J)ircctor of Technology at Northeast
    studenl, will present t11c research Februai:y 9 al the Intenm­                Marithne Inslitule."Ile had been Wred to spearhead a project
    tiorn.1) Solid-State Circuits ConJerence in San Francisco.              45    bringing the latest teclu1ology to the field of Maritime Secu­
        "()ur syste111 can run nearly perpetually if periodically                 rity and test it in the field Martin was the perfect candidate for
   exposed to reasonable lighting conditions, even indoors," said                 this job. Prior to working at NMI he was a 1nc1nher of the
   David Bhmuw, an electrical and con1puter engineering pro­                      project tea111 responsible fOr th e wheel bearings 011 the Mars
   JCssor. "Its only li111iting lhclor is battery wear-out, bul the               Lunder and in doing so becmne fmniliur with the obstuclcs
    battery would last ntany years."                                        so    theed in deveJoping products for use in harsh environments.
        ''The ARM Corlex-M3 processor has been widely adopted                     But the project was nearing completion aud be needed to find
    througho ut the 111icrocontroller i.J.1dustry for its low�power,              new ways to use his experience at the institule.
    energy efficient fcuturcs such us deep sleep n1ode and Wukc·                     "Before developing Acrospuce technology Marlin workc..'<.I
    Up Interrupt c:ontroller, which enables the core to he placed                 for years in the 111anufocturing of sc1nico11ductors and during
    in ultrn-lo\V leakage 111ode, returning lo fully aclive n1ode           55    this time he gained b ol h knowledge nnd experience coating
    ahnost instantaneously," said Eric Schorn, vice president,                    oqjects ut a 111olecular sculc.With die sole directive of realiz-
    nuirkctingi processor division, ARM. "This ilnplc111enllltion                 ing the lnstitulc 's 1nission to "'honnr the ntariner" Sid diverted
    of the processor exploits all of those fCutures to the 1unxim1u11             his focus fro111 maritime security to a long stirring Iden;
    to achieve an ultm-lo\V·power opemtion.''                                     Waterproofing Ek>etronics.
       111e sensor spends n108t of its tilne in s k'Cp 1nodc, waking        fiO      "With the backing ofNMI President Hric Dawicki ho hcgan
    briefly every R.w 111i1111te8 10 take 1ncusurc111entn. Its tola]              work on techniques he lcan1cd during the 1i111c he work1.'<.1 in
    average power co11sun1ption is less tlmn l nanowatl. A nano­                  the semiconductor industry, applied coatings to surfaces at
    wait is one-billionth of a \Vall. (This property-·with the wuk­               the 1nolecular level. Up to this point 1narine electronics were
    ing time interval suitably a4justcd-will be seen to he                        separated frmn !he corrosive and conductive propcr1ies of salt
    en1ployed in the present invention.)                                    65     water wilh !he use of pnltective sheJls. A waterproof n1clio JOr
        111e developers say the key innovation is their method fOr                L>xnn1plc, con1bines a pn1tective shell with plastic conliug and
    1nm1i1ging power. The processor only ncL'<.ls about half of u                 gaskets to kc.'.Cp water away front sensitive clectric11l compo-
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                                                                  us 8,659,435 82
                                       5                                                                              6
   ncnts. 'Ibis works fairly wc11 provided you 1naintain the                             111c present invention will inuncdiately be next seen to
   watertight integrity of the unit hut it's expensive to numufoc­                    have arguably dealt in an clcgm1t numncr with each of tl1csc
   turc and 111ainu.iin not to tncntion the extra weight 1.md hulk it                 three fundumcntul requfrcn1cnts.
   adds to the device itself. Oan1agc the shell or service the                           2.6 Shcllbnck
   con1ponenls in harsh conditions mid that protection is useless.                       The present invention \Viii be seen to en1ploy, in certain
      "Murtin's idcu wus diilCreut. Dy n1erginghis experience in                      c1nhodiments, con1punenls thal arc wuterproofcd by a lr�ms�
   harsh went her design with his knowledge of sen1iconductors                        parent coating. This coating is most preferably called a one
   be developed a new coating thnt rrovidcs direct proteclion lo                      called "Shcllback", which is a new invention just come onto
   lloth internal and ex1en1al con1pone11ts of a device regardless                    the market circa 2010. The coming was first publicully shown
                                                                                 10   to high ncc1ai111 in thut it pcnnits electronic devices such HS
   of si7..e. 'I11e process itself is n closely guarded secret bnt
   results in a ultm thin yet durable protection at the 1nolccular                    cc11 phones to he satisfi1ctorily waterprootL--d, such as \Vill
                                                                                      thereafter protect the sa111e front rain and front being
   level."
                                                                                      i1nn1crscd in toilet wutcr. TI1c wutcrproofing is realized with�
      'l11is coating cnn be realized in l1ccordnncc with the 1nate­
                                                                                      out interference with opcn1tion of the pushbulton controls, the
   rials and processes of the two patent applications and, being                 15
                                                                                      view screen, the connections, the speaker, etc. of the cell
   optically tnuu;purent (such us permits the display screens of
                                                                                      phone. TI1c waterproofing is strikingly den1unstralcd by
   the coated electronic equipments lo be read), is pretCrre<l us                     inunersion of a treated coaled cell phono in waler, where it
   the waterproofing niaterial and tncthod Jbr use in the syste1n                     continues to "operate'�, ahho11gl1 the waterproofing of lhc
   of the present invention.                                                          o pcraling phone clearly docs not cbange ( 1) the attenuation of
       2.5 A Previous Patent Application                                         20   rJ.dio frequency signuls, nor (2) the lin1it1.1tions of sound tnms-
       U.S. patent application No. 20080266118 to Nicholas .l.                        1nissio11 in v.•1.1ter, so that the "Shcllback" waterproofing of the
   Pierson; ct al., fbr "Personal cn1crgency condition detection                      celJ phone will be understood not to render the cell phone
   and safety syste111s and methods" concerns drowning or                             usublc underwater, but sin1ply to prolcct tbe cell phone und its
   asphyxiation prevention systent mid 111elhods for filcilitating                    circuitry, pushbutton key switches, display scrc..-en, etc., from
   drowning prevention of swinuners in bodicR of water, such as                  25   water dmnagc. (fhe circuitry oftbe present invention will he
   pools, lnkcs or the like, 'lltc drowning prevention safCty sys­                    seen to be functionaJ1y operative under water.)
   tem comprises a wearable article won1 by a swinuuer, nn                               This new waterproof c..-outing is described in U.S. patent
   <1lann indicaklr for lrm1sn1itling ml ulurm condition. TI1e sys�                   a pplicution publicution ntuubcr 20090263641 for u
   te1n nu1y further include an alann receiving system for receiv­                    METHOD AND APPARATUS TO COAT OBJECTS WITH
   ing the alann signal fro111 the alamt transnlitth1g device. A                 30   PARYLENE, uud also in publiculion umnher 220090263581
   putch type portion may be adhesively applied to the skin of u                      for a M ETHOD AND APPARATIJS TO COAT OBJECTS
   user to n1onitortheelcclrical activity of the heurt and generate                   WJTH PARYLENE!ANDBORON NITRJDE, both to Sidney
   heart nitc infonnation that is conununicated to a separate                         Edward Martin, III; el al. The applications describe a 1netl1od
   wenruble device, such as a wrist worn device.                                       of co�1ting preferred for use wilh ut leust the underwater
       2.6Approaches to, und Fundamentals of, Vitality Monitor-                  35   con1ponc11tR of the prct:Crrcd cmbodin1ent of the invention of
   ing Systcms                                                                         the present application.
      Any vitality tnonitodng syste111 may fUrther co1nprise a                            Jn the putent�applied�for 1nethod of Martin, lll; el at.,
   locating deviccsi such as those openiting by proxhnity dctec�                       Silquest is upplicd to un object as a vapor. A related nicthod
   tion, OPS location, of sUH other tcclmiques for location sur­                       coatR objects wilh Parylcne and Silqucst. 11tis prior art
   veillance or djstaucc detection. A device 1nay also include a                 40   describes a vapor deposition appamtus with multi-tempera­
   pru1ic button for the user to trigger the indicator and/or ulcrt a                  ture wne furnaces that is usc-ful for applying u Parylenc
   surveillru1cc or alarm detection system, which may ulso be                          coating to objects. 111e app1ication further provides objects
   used to tum offtho alann indication if necessary.                                   conted with Silquest and poly111ers1 including Parylcne,
      Any systen111rny also include other features, such as ntul­                      where the objects nre incon1putiblc with imn1ersio11 iu water.
   liple physio1ogicol function dcleclors 1.1nd/or 1nuJtiple afonn               45
   indicators, such as audible, visual or other indicators. A1ann                                  SUMMARY OF TH E INVENTION
   dctt>ction
        ..      ntay ho provided by various systents, such as one or
   1uore sound receivers, visual alann detectors, or other sys­                        The present invention conle111plutes n real-thne vitalily
   tcius. En1ergency conditions n1ay also be detectable fiu1n                       1nonitoring m1d ulanning sysle1u. purticuhtrly !Or swinuuers
   audible sounds of a person that 1nay be in distress or carbon                 50 and infants. The systcJn can he cn1ploycd tbr a large number

   dioxide shock. A visual alarm indicator can be fbr example a                     of persons in parallel, aud nl the sa1ne time--·- as in a public
   bright light, i11f111table balloon type device, colored fluid ejec­              swimming pool, or a hospital's nursety--with the Hashing
   tion or the like, 1nay he pn>vidcd.                                              und sounding of a central nlarn1 if the heurt of any monitt1rcd
       Other syste111s to prevent in1paircd people front entering                   person is sensed to have stopped for 111orc than about twenty
   the water, such as an alcohol 1nonitor or n1easurc1ne11t device               55 seconds. The alnnn produced by t11e syste1n of the present
   uu1y be provide..'<.!. 1l1e 111onitoring syste111 111ay b e s111all, co111-      invention is thus timely lo enable potential revival of the
    pact, durable, and easily wont by a person while swinuning,                     person, which is desirably conuncnccd wilhin two tninutcs.
   or otherwise 111aking it easily usable.                                             The syste1n includes ( J) n waterproofsensor and 111onitor o f
       In consideration of these n1any possibilities, the systen1 and               vitality worn by a person, and co1nmunicating b y liue-of­
   n1ethod of the present invention arc din.>ctcd to certain things              60 sight optical signal to (2) one or 1norc dctoctors both suh­
   lhut Hre funda1nontal to any swimn1er or infant n1onitoring                      n1ergcd and in air which dctt..--ctors will cause (3) an alurm to
   syste111. Pore1nost runong these things rue thut (1) the systein                 visibly and audibly sound.
   111ust be, at leusl in part, both user wearable and waterproof�                     The ( f) vilulity sensor and monitor is waterproof, 1uicro­
   (2) con1n1unication between syste1n co111poncnts lhul Hrc                        minaturi1.ed and 1nicro-powcrcd, containing a n1icmproccs­
   inunersed and �1lurn1s that sound in air should be reliable, und              65 sor and n1en1ory t11at is powered by n 1nicro-111iniature battery

   (3) systen1 cotnponcnts should be both uffbrdnble in initial                     that is recharged by n min1-n1iniuturi7..ed solur ceU. The sensor
   cosl, and should incur low life cycle costs of operation.                        und n1onitor preferably attuchcs to the cur lobe or web of the
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                                  7                                                                          8
   hand, or, optionally, two identical such sensors altach one to           called "Shcl1b11ck''. Hy this new (circa       2010) process and
   each car lobe or hand, in order to sense the vitality, and heart         product not only 1nuy the electronics he pnltcctcd hut-con-
   bcat, of the wcnrer by such variutions in blood flow in the              sider this-no interference nor excessive attenuation, is
   1nicro-capillorics of these regions as do effect optical trans-          caused to any of the optical paths of ( 1 ) sunshine or nrtificiul
   1nission. 'L11c blood floY.', and heart Jbnction, is sensed by      5    light to the solar cell, (2) in:frured light us is trans111ittcd fro1n
   shining a bcruu of infnired light through these 111icro-cupil-           transnlltlcr to receiver during the blood flow sensing, of (3)
   h1ries of the cur lobe, or hund web, from (lul) <ut optical              blue-green light us is usL><l to communictitc the potential heart
   cn1ittcr, prctCrably a red LEI), to (la2) an optical detector,           slOpJ)Oge condition. ·n1e "ShelJback" coating is not only
   preferably a photodiode, that are 111aintai11ed in contacI \\'ith
                                                                            transparent, it is so to n broad range of light wavelengths.
   the cur lobe or hund web, prcJCn1bly by         ll   sintplc spring 10
                                                                               Becallse of the ad\'anced power 111anage1ncnt----wherein
   pressure clip.
                                                                            the principal energy com1un1i11g circuitry i:; on for but 111 icro­
     'l11e microprocessor ofthe ( 1 )waterproofsensor and 1noni-
                                                                            scconds during each 200 111illisccond interval, or hut one-ten
   tor periodic111ly e11ergizes-nor111ully about every 200 1nilli-
                                                                            thousandth the ti1nc-and solar cell recharging of the hat-
   suconds-so as to i;torc successive blood now dett  "Ctions
                                                      .       in u
                                                                            tcry---·-as nnty occurwllen a device ofthe present invcntionnol
   1ne111ory, dctennining that heart stoppage of the wearer iuay 15
   have occurn.>d if� 1101ninally, HIO of such successive record-           in active use is stored under u bright hunp-·-thc device of the
   ings, over u 1101ni11nl elapsed time period of twenty seconds,           present invention requires but low, or no 1nuintenunce, as well
   arc all the santc.                                                       as being re1i�1ble. A crnnplex societal and saiety prohJe1n is
       Ifa possible heart stoppage ofthe wearer is determined, the        thus not only addressed by the present invention, but is sub-
   ( 1 ) wuterproofsensor 1.111d n101ritor causes un optical sigm1l to 20 stantially and successti11ly so addressed.
   output fron1 at least one, und 1norc pre1Cn1hly two, opticul              1 . A Systc111 For Monitoring the Vitality ofi1 l,erson
   signal trans111ittcrs, Each such optical signal transntittcr is             Accordingly, in one of its aspects the present invention is
   pre1Crably a bright, but sub�milliluetcr scale, hlue�green               e111hodicd in a system 10r monitoring the vitality ofa person.
   LED. The emitted light tr.1vels through wuter with acceptable     The preferred syste111 includes (1) u w11terproof sensor,
   attenuation line-of-sight to detection, hopefully, by at ]east 25 1nountcd lo a pcraon, pcriodicnlly sensing tho pcraon's heart
   one ofa prctCrablc plurality of inexpensive, hut sensitive, (2)   activity to produce an electrical signal indicative thereof, (2)
   optical detectors as 111ay be located both submerged and in air.  n waterproof iuonitor receiving the electrical signal of the

   Any ofthese detectors re(..-eiving the heurt stoppuge-detected    seni:.-or 1md tnms1nitting un optical uhirm signal when the
   signal fmn1 any (1) waterproof sensor and 1nonitor as n1uy he     person's hcat1 activity is dclennincd to he stopped, (3) an
   1nountcd upon any swi111merorcbUd will ultimately cause(3) 3o optical receiver of the transn1ittcd optical alaml. signal, and
   �1n alarm to visibly and audibly sound in air.                     cuusing to be produCL>d in air m1 alann thnt can be sensed by
      A1though straightforward in both in1ple1nentation and           a hu1uan. By this couclion ut such times as the optical alann
   operation, there arc sufficient design choices n1adc, and          signal is ti1ncly generated by the n1onitor1 ond the alanu
   subtleties in operation, witlrin the syste111 rutd method of the   timely produced by the optical receiver and nlam1, ond sensed
   present invention that u reader may not be quite sure as to 35 by the h1u11an, the person whose heart activity is sensed to be
   what, if anything, is truly re1nurkable. It is respectfully sug�   stopped can prospectively he aided by the human.
   gested tbut the following aspecls of the present invention            TI1e system waterproofsensor is preierably an optical se11-
   denu1nd uttention. The electronic n1icroprocessor und              sor of blood How within n1icn1-capillm·ies of the person's
   mc1nory on a silicon chip, the battery, and tho solar cell arc of  body as indicative ofthe activity or inactivity ofthe person's
   a prior art integrated design recently, circa 2010, originating 40 heart. This optical sensor_ofb1ood flow is preferably n1ounted
   at the University of Michigun. To this basic structure the               to the earlobe ofa swinuneri or to t11e web of a child's hand.
   present invention adds an infhued optical blood flow sensor                 The monitorpreferably detennines t11e1nonitorcd person's
   (as an input stage) nnd also an LED optical hcarl�sto11pagc�             heart activity to be stopped fro1n successive electrical signals
   alann-signal (ns an output stage). All this addition is done             n.."Ceived that are unchm1ging, and thus representative of a
   while preserving ( 1 ) l11e 1nicrominiaturized, sq1mre mi1lin1e- 45 stopped, us opposed to a fu11ctio1ling1 heart. This 111onitor so
   tcr, si1..c and (2) picow�itt (steady state) powcrconsun1ption, of  functioning preferably includes a 1uicroproccssor running
   this lJ of M essential design and product advance that is ten       1nicrocodc, and a mcn1oiy in which the received electrical
   times s1naller to do ten tinles the data acquisition and con1�      signals indicative of the n1011itored person's heart oclivity are
   putation :.it one tenlh the cuergy budget as herctothrc. Tiu! key   stored. This 1uicn1proccssor and 111emory arc only activutt.'ll
   (1) watcrpn1of sensor and 1nonitor con1poncnt of the systc1n so but periodically, thus saving power. Namely, each tbnc the
   ofthe present invention is thus arguably one thousand thues              1nicroprocessor and the 1nemory are periodically energized
   better tbnn one bas gone heretofore.                                     an eleclricol signal received fron1 tlte sensor is both stored and
      Next, this (1) waterproofsensor and n1onitorcon1ponenl o r            co111purcd t o a preceding succt.'S8ion of electrical signals
   the systc111 of the present invention 1nakes cftbctivc use of            a1rcady stored, the optical alarn1 signal being tm11s1nitted if
   blue-green light to contntunicute necessary und usefid inJOr- 55 and vdtena predetermined nmnberof'stored electrical signals
   1nation-··-the potential heart stoppage ofthe wearer-·-··through are delenninecl to be the sante, thus polenti1.1lly 1nc1.11ling thut
   water to u next co1nponcnt in line, and ultinu1tcly to the       the sensed pcrson'11 heart activity has stopped.
   attention ofa human outside agent. 1t is of course of no avail              More particularly, the nticroprocessor nnd the 1ne111ory are
   that the wuterproofsensor and nton.itor component should be               pretCmbly uctivated only but every 200 n1illiseconds. The
   very sophisticated to dctccl biological function und prublcn1s 60 optical ulann signal i!; preferably then trm1snlitlc<l ifand when
   if it cannot con1111unicatc ittt infomu1tion, nnd situationtt     100 sturc<l electrical signals are sensed lo he invnriunt, 1ncun-
   detected, to the "outside \\'orld." It is respectfi11ly suggested   ing that lhe sensed person's sensed heart activity hus been
   thut the opticul co111lllunications patbs of the prt.-sent iuven-   unchanging fhr 20 S(..>conds, und the sensed person's heart
   lion perfonu this llL"CCSsary co1n111unication well.                uctivity has stopped.
      l1hu11ly, tbe entire (1) waterproof sensor und n1onitor con1- 65   ·nic preferred 1nonitor of the syste1n of the preferred sys-
   ponent ofthe syste111 ofthe present invention is wntcrprooied            ten1 of the present invention preten1bly ti1rther includes a
   with a nt.'W, slutc-of�the�art circa   2010, process und producl          bntlery providing electrical power to the 1nicroproccssor and
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                                  9                                                                              10
   the 1nen1ory, and a solar cell thr recharging the batlery fron1                 '111e optical alanu signal tl'ans111iflcd by the 111011itor is iuosl
   incident received light i1h11nination.                                       prcfcnibly bluc�grcen light tr<ltunnittablc through water.
      The optical alann sigrml produced by the 1nonitor is 1nost                   Finally, the 111cthod still further preferably includes wutcr­
   prctCrahly blue-green light trans1nittablc through water.                    pmofu1g at least the sensor and the 1nonitor by coating holh
       At least one 11lari11 signal produced in air by the optical       5      with a trunsparent poly1ner, which lnmspurent poly1ner nei­
   n.'Ceiver and ulunn produces is preferably un uudio alam1                    ther interferes with (1) uny optical puth Jbr lhe sensing in and
       At lc.ust the sensor und the monitor urc pre!Cn1hly both                 \Vith a sensor blood flow in and of the swi1mner, nor (2) m1y
   rendered waterproof by virtue of being contcd with a trans­                  trm1s111itting t)fthe optical afonu signal fro1n the n1onitor.
   Jlnrent poly1ner1 \Vhich transparent polynter neither intedi!res                 3. Sununary
   with (1) uny opticul puth for sensing of the person's heart           10
                                                                                    In accordance with the two 111ajor variants of the presenl
   activity hy the sensor, or (2)transn1itting ofthe optical nlann
                                                                                invention, the preferred syste1n of the present invention 1nay
   signal by the ntonitor.
                                                                                he understood lo be 1ninin1al in constn1clion, and with a
       2. A Method ofMonitoring the Vitulity ofa Swimn1erWhu
   is ut Thncs Sub1ncrge<l while Swhnming                                       1ninin1al-hut highly useful-function. Nmncly, the present
       In another of its aspects the Jlrcsent invention is c111bodied    15     invention is not interested in dctennining the source, nor
   in a 1ncthod ofn1onitoring the vitality ofa swinuncrwho is at                evolution, nor even the individuul klentiiication of hu1nnns
   thnes subn1erged while swinm1i11g. The tnetho<l includes (1)                 undergoing probletns with nu1intenunceoftheir life's vitality.
   sensing in and with n sensor blood flow in and ofthe swi1111ncr              The present h1vention is situply and slraightibrwardly
   as an indication ofthe swimmer's heart beatover ti111c in order              directed to thuely uotH)ring supervisory persons such as JiJe-
   to produce a succession of eh.."Ctdc11l signals. (2) receiving,       20     guards and nurses of incipient problen1s in their 1nidst, espc­
   sloring, und interpreting in u n1onitor the succession ofelec�               ciaHy i;uch as arise fro1n ( 1) S\Vinuners at risk ofdrowning, (_)f
   tricnl signals received fro1n the sensor in order to transn1it an             fron1 (2) inthnts potentially subject lo unexplained crib death
   optical alann signal if nnd when this succession of signals                   syndron1c.
   indicutes that blood Oow in the swinm1er is consistently the                     These and other uspccls and uttributcs ofthe present inven-
   smne, nnd dwt the swhntner's heart could have stopped, ANI)           2."i   tion will beco111e increasingly clear upon reference to the
   (3) receiving in an optical receiver any optical alarn1 signal                tOHowing drawings and accompanying specification.
   transmitted from the monitor, and producing responsively
   Ihereto an aJann signal thut ct1nbe sensed by u human. By this                      BRIEP DESCRIPTION OP THE DRAWINGS
   conction· upon such tin1es as the optical sensing is accurate,
   and the optical alann signal prudently and tin1ely produced,          10        FIG. 1 A is a diogranunadc perspective pictorial view of a
   and this optical alann sigru1l tio1ely received by the opticul               first einbodirnent, for use by swinuners, of the w1;1terproof
   receiver to produce the nlanu signal that can be sensL"Cl the                optically-sensing fiberlcss-optically-con111umicating vitality
   hutnan, then the person whose heart activity is sensed to he                 1nonitoring and alanning systc111 of the present invention.
   stopped can prospec1ively be aided by this hun1an.                              FIG. ID is a diagrt1Dllltatic perspective pictoriu1 view of a
       l11e sensing is of blood How preter.,bly consists of opti-        3.5    first embodin1ent, for use by children and by in:lilnts, of t11e
   cally sensing blood flow within the n1icro-capillarics of the                waterproof optically-sensing fihcrlcss-optically-co1n1nuni­
   swinuner's ear lobe as the indicated of the swinuner's heart                 cating vitality tnonitoring and alarming syslen1 of the present
    beat. This opticnt sensing of blood How is prcfCrably water­                invention.
   proof, and can transpire entirely undc..'l"W'Jtcr.                              FIG. 2Al is u view ofthe prior art 111illilnetcr-scaJc, cneigy�
       111e interpreting in the nlonilor iio as to dctenninc that the    40     harvesting sensor system developed circa 2010at the lJniver­
   1nonilored person's heart activity to be stopped pretbrably                  sity of Michigan, thut is the core of one, vitu1ity n1oni1oring,
   trall8pires it� und when, successive eJectricul sigrrnls received            con1ponent of the present invention, mid
   from the sensor that are unchanging, and thus representative                     FIG·. 2A2 is a view, sin1ilar 10 the view of FICJ. 2AJ, ofthe
   of a stopped, as opposed to a :lbnctioning, heart. This receiv­              prior art millimeter-scale, energy-lmrvcsting sensor systent
   ing, storing, and interpreting in the 1nonitor 1110.re parlicuhlrly   4.5    developed circa 2010 ut the University of Michigan now
   preferably transpires us running n1icrocode inn 111icroproccs­               enhanced and expanded in the silicon-based circuitry in par­
   sor, and periodically storing within a n1e1nory the received                 tial rculi7..ation of the vitality n1011itoring function of the
   electrical signaJs indicalive of the 111011itored person's heart             present invention
   activity, so us by interprclalion of the stored signals to dctcr-                FIG. 2B is u diagramnmtic pcrspL-clive pictorial view of
   111inc whether a 1nost recent succession arc all the santc, thus      so     two variant c1nhoditncnts of the vitality sensorcomponent of
   potentially tneaning that lhe sensed person's heart activity has             the system of the present invention, each packaged fbr use to
   slopped.                                                                     monitor a swimmer.
       ·n1e running or n1icrocode in the 1nicroproccssor, and the                   FIG. 2C is ti diagrummatic perspective pklorial vi'-'W ofthe
    pcriodica11y storing within a memory, preferably transpire                  first variant etnhodhncnl of the vitality sensor component of
   only but periodicnlly, saving power. More particularly, lhc           55     the systen1 of the present invention in two difterent packag­
   rwu1ing ofmicrocode in the 1nicroprocessor, and the periodi­                 ings euch fOr use in the 111onitoring ofchildren, and/orinfuuts.
   cally storing within a 1nc1nury, preferably transpire only hut                   FIO. 3 is an c1cc1ric1.11 schc111alic di11gra111 of the vitality
   every 200 milliseconds, while the producing of the optical                    sensorco1nponenl shown in FIG. 2A2 os perfbnus the sensing
   alann signal is only ifand \Vhen 100 stored electrical signals               and monitoring of the present invention.
   arc sensed In he invariant, n1caning that the sensing of the          60         FIG. 4A is an eleclricul schc1natic diagran1 oC(1) the LEI)
   person's blood llow as doc."> indicate heart activity has been               C>ln'PUT sub-circui1 nfthc vilalily scnsorco1nponcnt of the
    unchw1ging tbr 20 seconds, and the sensed person's heart has                 present invention previously seenin theschcn1utic diugnun of
    stopped.                                                                     FIG. 3, and (2) a con1pli1nentary receiver circuit ofthe prcsenl
       TI1e 111cthod 1110s! prcfor.ihly further includes providing               invention previously SL'Cll diagn11111n�llically in FIG. 1, whore
   eleclricol power tfont u battery to the sensor, and rech..1rging      65      FIG. 4B is 11 sllnplificd elcclrical sche111alic di11gra111 of' Jess
   with n solar cell the battery from received ambient light j1Ju-               detail lhun is FIG. 4A so us lo tOcus on the extrc111e simplicity
   1nination.                                                                    of euch of the LEI) outpuli the light transn1ission through
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   water, and the phototransistor receiver circuit of the vitality              It should he unde1'S1ood that the infrequent, 200 1nilliscc­
   senHor syste1n ofthe present invention previously seen in Fifi.          ond j11tervnl1 blood flow san1pli11g pcrfOnncd by the syste1n of
   IA,                                                                      the present invention is n1anifestly unsuituble for an electro­
     FIG. 5 is u flow chart of the 111icrocodc executed in the              cardiogrmn or other diagnosis of the electrical wavctbrn.1 of
   sensor, previously seen in t11e schen4'ltic diugruu1 of FIG. 3,      s the heart, and/or the pressure wavcfbnns within the ancrics

   within the vitality monitoring und ulnrming syste1n of the               und veins, but is suitable only lhr detc..-cting vitality, and then
   present invention previously seen in FIGS. lA mid lB.                    only when nudtiple readings arc compared over u tin1c inter­
                                                                            val, Morcvcr, if the blood flow is sensed only hut cvciy 200
                DESCRIPTION OF TIIE PRllFllRRllD                            1nil1iseco11ds··"--which could thcorctical1y heat tlte same p1u1se
                                                                        Io relative to each successive heurtbeut only ul <Ill iinpossibly
                             EMBODIMENT
                                                                            high pulse rate of 300 beats per ntinutc--thcn whether the
      'l11c present invention reali7.cs the continuous rcal-thne            heart is heating or not can be reliably dctenuined over an
   1nonitoring of the vit"lity of swinuncrs in swinuning pools,             interval 1.u; short as 20 seconds cind shorter, and dn1stic�11ly
                                                                            sooner than the two 1ninule irreversible damage for heart
   and infants in cribs in nurseries, so as to thnely show and/or
                                                                        1 s stoppngc due to drowning, or SIDS. In sin1plc tcnns, consecu­
   sound m1 aJann when the heart beat ofthe 111onitorcd person iii
                                                                            tive blood now n1easure1nents taken every 200 n1illiscconds
   sensed to have slopped so that 1ifcsuving resuscitation is stiJI         nu1y so1nelin1es be the smne, and u blood flow sensor1nuy, due
   possible.                                                                primarily to shock or vibn1tion or aqjustincnt by the wearer/
       J . Teclu1ical Goals ofthe Vitality Monitoring System ofthe          user, tltil to give a good and va1id blood now indication fbr
   Present Invention                                                    :?O some seconds. Ilut if one hundred (100) consecutive blood
      'J1w technical gouls of the waterproof vitality n1onitoring           readings over 20 seconds are all the smne then there is a
   nnd aJanning system of the present invention are as tOllows.             prob1cn1. Either a sensor hos been rcn1ovcd by its user, and left
      ·n1c systc111 Rhould reliah1y sense some physiological indi­          to sit active in the systetn (therein to alann °no blood flow
   cator ofhu1nan vitality. The systen1 of the present invention            detected"), or, ofconsun1111ule importance in t11epool or nurs-
   senses the heart heat, as is detectable by blood flow variou!i 25 cry environment of the present invention, the heart of the
   degrees of transparency of the car lobe, or of the web of the            wearer of the sensor has stopped tOr 20 seconds.
   hand, due to vurfations of blood How in the 1nicro-capillaries               3. Considerations in Selection of an Underwater Conunu­
   of these bodily regions. Morever, if the blood flow is sensed             nicntions Ch;:111nel
   only every 200 111il1iscconds-which could he at the smnc                     ])ctcction of a blood now intcm1ption/stoppagc at the car
   phase to each successive heartbeat only at an in1possibly high Jo lobe, or nt the web of the hand, or even within a closely­
   pulse rutc of 300 beats per minute--then a relh1blc determi­              situntcd microprocessor, is of no use unless this untowt1rd
   nation as to whether the heart is heating or not can he made              condition should he effectively comnu1nicatcd to a lifeguard
   over an interval as short as 20 seconds and shorter (i.e., sotne          or other 111011itoring hun1an for (1) a swinuncr, or for (2) a
   l OOsensed events). Tills intervul is drastically shorterthan the         baby. In simple tenus his ofno avail to detect tlu1t a monitored
   two ntinut·e interval within which irreversible damage can 35 human subject is dyjng unless help can be titnely sumnl.oned.
   occur due resultantly from heart stoppage due to drowning, or                A radio transmitter, and a radio communications channel,
   SIDS. A heart stoppage alert titnely generated at 20 seconds,             was considered fOr conununication of nn nlarn1 condition in
   or even less, thus potentially pennits tin1ely resuscitation of           the systen1 of the present invention. llowever, at all bul
   the person whose heart has stopped.                                       extreme low frequency radio, the attenuation ofa radio signal
       'Jl1c state of the vitality indication sensed should be, and is 40 in water is extrcn1ely bigh. At very low frequencies radio
   in the system ofthe present invention, eflCctively and reJinbly           attenuation in water is possible, with ultru low frequency
   communicated front u swhmner (or drowning victim) under­                  n1dio being used for co1rununication between lnnd und sub­
   water through the water to, eventually, a surface platfor1n,             ntnrines underwater. However, by the laws of radiophysics,
   where an a]nnn is sounded upon the detection of un untoward               efficient antennas fOr these frequencies are hundreds, and
   condition.                                                           45 thotumnds, ofJCet in si:ze-scarccly suitable IOr a swi111n1er.
       Size and weight systc111 compone11ts should be suitably               Moreover, at lJLF radio maxin1um conununications band­
   sn1all, especially such components as are mounted to the                  width is lin1itcd, and power rcquiretncnts arc high.
   swinm1er. Power consu1nptio11 should likewise be suitable for                 Sound, or acoustic, con1111t1nicntion was also considered
   system con1poncnts, especially such con1poncnts tis (1) urc               tor use in lhc systCJn of lhe present invention. Por ucoustic
   n1ountcd to the swinuner, or (2) 111nst be battery powered.           so single transducers the e111itter can be considered omnidirec­

       AU system con1ponents should support adequate conuuu­                 tional. In an acoustical conununication system, transmission
   nication speeds to the task nl hand.                                      loss is caused by energy spreading an<l sound absorption. The
       FinaUy, both and systen1 co111ponc11ts and systcn1 opcrJtion          energy spreading loss depends only on the propagu1io11 dis­
   should be mhusl, with solid systc111 operation under real                 tance. The absorption loss increases with range nnd frc-
    world conditions nod variables.                                      ss quenc..-y. These problen1s set the lin1it on the avnil11ble co111-
       2. Considerations in Selection l1fi1 Vitality Sensor                  1nunieations bandwidth. In general power require1ue11ts are
       'l11c vitality sensor of the present invcndon energizes for :.1       too high for 1nan-wearahlc portublc devices.
   tew 111icroseconds prefCmbly but every 200 inilliseconds in                   Finully, optical con11111ullcntion was considered for the
   order to sense tmnsn1ission variations in un infrared light path          ulunn signal pat11\vay in the syste1n of the present inveutioni
   through the 1nicro-capillaries of either a We<1rcr' s car lobe, or 60 und was ulti111atcly chosen, Ho\VL'Vcr, hut t<lf being subject to
   the web ofeither hand. Blood flow in the 111icro-capi1larics of           dirt.'Cling or dispersing clements (lenses, 1nirrors, ctc.)n laser
   these regioIL'> causes optical transmission to vary. Comn1cr­             or fOcused light beam is 1nono-directionnl, and imsuitoblc fOr
   ci1.1l products observing this micro-cupillury blood flow to so           omnidirectio1uil co111municatio11 in water.
    n1casurc heartbeat nlrcady exist, h111 not (1) so as to detcr111ine          However, water does present an excellent "p;:1ssh:111d" to
   vitu1ity, norwitb the (2) power saving cycle control, nor (3) 6.5 light, and lighl conm1unicnlion. Within the visible ligh1 spcc­
   solar-rec]mrged buttery power, thut are within the present                tnun, light ubsorption in water is minitnul in the range 400-
    invention.                                                                450 nano1nctcrs. Nnn1cly; light ub1;orptio11 in water inerc�1scs
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   towards the red and infrared part ofthe spectnuu. Blue�green                 dsPIC con1nn111ications protocol, arc prctbrred. 'Jlte rL>cciver
   light realizes 1nini1nal absorption in waler at a wavelength                 build requires the build of the PCB, and the soldering of the
   around 400-450 11111. Optical (light) co1nn1u11ication by vis�               S.I). Devices.
   iblc bJuc�grccn light in this frequcncy/wuvelcnglh nutgc can                   5. Tmnsn1iUcr J)csign and Build Rcquirc111cnts
   also be onulidircctionul, being that extrcntely sensitive,                     The opticul tn1nsn1itter design requires PCI3 design und
   tuned, detectors can be used to detect even the weakest of                   selection of devices. A Z-Power LED Series X10190, u Hex
   light signuls.                                                               lnwrter MC74Ho4ADR2 und          m   XOR Gule MC74LVX86,
     Moreover, a n1odulnted LEI> light source is both inexpenM                  as are shown in the sche1natic of FIG. 4A are preferred.
   siveand on1nidirectio1ml, mKI can be obtained in the 400450                    11te trans1nitter build also requires a build of a PCB, and
                                                                        10
   11111, 1igh1 output tfequency range. 'l11e tuned photodetector               S.J). Devices soklering
   transistors sciving as dclt..'Ctors of this 400-450 nn1, lighl arc             6. The Prcrcrrc.xl Emhodin1cnts ofthe Systcn1 ofthe Prcscnl
   also :;ensilivc, inexpensive, and reliable.                                  Invention
     However, 1ucrc choice ofmt optical alann co1n111unication                    6.1 The ()vcrall Systcnt of the Present Invention
   both does not solve �111 design issues. The i111ple1ncnt of111odu-   1         A diugranunutic perspective pictorial view of a first
                                                                            5
   lation, the receiver design, ncccssury umplification 1.md/or                 c1nbodhncnt, Jhr use by swinuners, ofa waterproofoptic�1Jly­
   filtering, and signa1 analysis needs ull be considered.                      se.nsing flberless-opticully-comn1unicating vitalily monilorM
     A choice of AM Optical Transmission JOr optical signal                     ing and alarming system lA ofthe present invention is shown
   modulation oHers a Milz-range frequency response. llowM                      in FJG. JA. Likewise, a diagranunatic perspective pictorial
   ever, tltis driving 1nethod is not capi;iblc o f fuJly-driving the   20      view of a second en1bodhuent, iOr use by infants, of the
   LEI) at the highest frequencies.                                             waterJlroof optically...�cnsing fibcr1ess-0ptica1ly�on1111uni�
      FM 111odulation is so111ctin1cs prclCrrcd over AM 111odula­               eating vitality 111onitoring and alanning systcn1 lB of the
   tion since it was viewed as being n1orc resistant to 18ding and              present invention is shown in BIG. JB.
   viuiations in the signal un1plit11de. lt works fine even though                Jn the syste.in 1A ofFIG. lA one or more vitality sensor(s)
   the duty cycle of the pulses should he cxtrc1ucly short (4 ns at 2.s 1 lA upon one, or both, car lobes of a swinm1cr 2 (not part of
   lOO kHz).                                                            the syste111 of the present invention) cn1its a blue green Jight
      Existing digital ntodulation models include the IrDa and          signal upon pathways 12A, or 12B, or both such pathways,
   RONJA und BPSK 1nodulution syste1ns.                                 when the heart of swiuuner 2A within the wuter 3 ofa swimM
      ·111e IrDa (I nfrarcd Data) 111odulatio11 systen1 has the advan­ 111ing pool (neither of which is part of the syste1n of the
   tage that highly optimized integmted circuits are readily Jo present invention) is sensed to bave stopped. Optional unit
   availuble ut low price. [·lowever, it has a speed of only 14.4      13B is m1 undeiwater recciver/tnu1s1nitter--not nonnally
   khit/nec within u n111ge of, n1ost typicaJly, about 2.7 111.        n1iniaturizcd but preferably battery powcn.>d-that situply
      01l1c R(>NJA 111odulation systc111 has a 10 Mbps rate f11l1      serves to mnplify and repeat the signal 128, sending it further
   duplex conm111nicatio11 speed (which duplexed conuuuttica­          onwiird as bright blue�green light signul 12D detectable by
   tion is, however, not required in the syste1n of tbe present 35 poolside detector 17. A1tematively, und/or concurrently und
   invention).                                                         in parallel, a bluo green light signal uron puthwuys 12R from
       BPSK111oduJation (as on AVJ aku Manchester) can use Jens        the same source in vitality sensor(s) l tA (whereby the heart
   1.1n1plificulio11, und works in turgid wuter.                       of swinuner 2A within the water 3 of a tiwinuning pool is
       Systen1 goals, und cost and durability considerations in        ticnscd to have stopped) may be sent to ceiling unit 13A.
   syste111 design and fabrication, led toa blue-green diode trans- 40 Ceiling unit 13A is again a receiver/trans1nittcr-not nor�
   tnitter using the RONJA fast driver modula1ion scheme. Tiie         1nally 1uiniat11rized and prefCmbly battery powercd-tlmt can
   ullowed rule (10 Mbps) is bigger tbun the system ll<"Cd (-1         uguin u1nptify and repent the tiignul 12B, sending it fllrlher
   Mbps). Easy hnplen1c11tation is via a sin1ple inverter array.       onward as bright blue-green light signal l 2F detectable again
   Fast Manchesler n1odulation transpires wit11 a shnple XOR           by poolside detector 17 (pathway not shown), or direclly by a
   gute, as will be seen in the Figures. A blue-green highMinten- 45 suitable light detector connected to PC 7 (not necessarily parl
    sity LED source serves as the optical tra11sn1itter. The onu1iM    of the present invention: reference the altenultivc of the next
   directional signal light is eye safe oven at closest range noncM    sentence) attended by human 5. (Neither the PC: 7 nor the
   theless to having reasonable light intensity. Switching speed       human 5 are part oftbe systen1 of the present invention.)
   for sig1ml 111odulation is good, with high e1nission und Jl1st                 Either the poolside sensor 17, or the ceiling sensor 13A, or
   charge of the LED's capacitance. Small packaging is avuil-           so      even the PC 5, 111ay optionnUy display, and soundi a visual and
   able.                                                                        audio alann. It is thus clear that an alann n1ay be variously
     4. Receiver Design and Build Requirements                                  sounded (and/or shown) at vnrious locations and in various,
      l11c optical, blue-green light, ulunn signal produced in and              and variously-nmncd, units, the principle being only that an
   by an LEI) under the 111odulatio11 (power) control ofii 111icm­              audio alan11 1nost nomu11ly1 and preferably, be sounded in air.
   processor must be received in an optical receiver, The preM          55      All the ubove-eoumemted units so quulify.
   Jerred optical receiver oflhc systen1 of the present invention                  TI1epurposes ofthe PC7, mid u potentially involved hun1an
   prcfcn1bly uses a silicon photodiodc for the visible spectral                attcndantMand/or-tirstMrcspondcr 5, is prbnarily for enhanced
   applications, specifically around 450 nm. light wavelength.         und expanded versions ofthe systent ofthe present invention.
   Such n photodiode has a fhst rise und fhll tinte suitable fbr the   Forexmnple, each unit sensor llA (or puirs of sensors llA)
   RONJA dsPJC con111n111ications protocol. The r<         "Ceivcr r.o as arc won1 by each swim1ncr 2 n1,1y be uniquely serialized
                                                             •
                                                             .


   should he, and is, fast, sophisticated mid scnsilivc, with good     and identified, and, when this inronnation is optional1ytrans-
   (optical) noise im1nuuity. l1 should be supportive of the pos­               1uitted along with the alarn1 signal 1213, the particular swh11-
   sibility of implc111entution in singleMchip, thnt is: ruuplifica­            n1er that is ostensibly in trouble can son1etin1es be identified
   tion, filtering, und dc1nodulation all tn1nspirc in a single chip.           with partienhirity. However, these niceties arc not nccL>ssary
     'llte receiver design of lhe systent of the present invenlion      65      fOr an adequately fu11ctio11i11g systc111. Na1nely, when so many
   requires PCB design and devices selection. A siJicon Photo­                  us but one single swinuuer is in troublc-·---let alone that his or
   diode for the Visihlc Spectral Range lypc BPW 2 1 , and the                  her heart Rhould have stopped-the swinuuing pool is
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                                                             US 8,659,435 B2
                                  15                                                                         16
   cleared, and all activities save rescue con1 to      ll   halt. The        in FIG. 2A2. 1 t i s clear that the solar cell 1.12 and the battery
   present invention is conccn1cd with saving hmuun lifc.                     113 can rc11u1in the smuc, or suhstimtially 110. (Although they
     Titc second cmbodintcnt of the waterproofoptically�sens­                 can optionally be cxpandt.'d).
   ing fibcrlcss-optic1.1lly-co1111nunicating vhulity 1nonitoring               A diugnnnnullic perspective pic1oriul view uf two variunt
   and alnnning syste111 113 of the present invention shown in           5    cn1hodhucnts of the vitality sensor co1uponcnt llA,13 o f the
   FJG. lil !Unctions Jikcwise. A vitality alnrm signal is devel­             systc1n 1 of the present invention---·-each packaged for use to
   oped by sensor 11D that is now most preferably upon the web                1nonitor a swimmer----is shown in FIG. 2D. The two vnrinnt
   of the hand of an infant 2B within a bed within a romn 4                   en1bodhne11ts areextre1ne1y sin1itar, essentinlly diftf!rlng only
   (infont 2B and rootn 4 are not part ofthe systein ofthe present            in thrit the output LED 1 1 121 of the 1nost preferred embodi-
   invention). Sensing of a stopped heart is again reported via, JO 111ent shown at the right 1nay he replaced by a 1nillhneter si7.c,
   111ost preferably, optical signal 12H to cciling-nun1nted                  and wavelength, radio antenna 11121' shown ut in the variant
   receiver llnd alarm 13C. Again, a con1puter 7 und un �1ttcndant            to the left ofFJO. 2B. Since, for reasons previously explained,
   care giver 5 (no! part of the present invention) 1nay be, or               nn LED-produced blue-green light output signal is preferred
   becon1e, involved. Likewise, the ahirm signal 111ay be tnulS-         15   for ut lcust the use of the system oftbc present invcn1ion for
   Jbruu.'C.l and further co1mnunicated, by wire or wireless as is            swinuners, u rudio-bm;ed ulurn1 signal output vuriunt of the
   desired, to u further ulonu 13D in unother roon1.                          vitality sensor 1 lA,13 is not presently l1.1rther developed
     'l11e purpose of these variations in both the first, and the             within this specification. A practitionerofthe conununication
   second, e1ubodiincnts of the systent of the present inventor is            arts will however recogni1..c lhat 1nicro-1nininturi?.ed and
   siiuply to sensilize the reader to iu1derstand that U1e systcn1 of    20   111.icro-powered radio chip sets are available (witness celluhlr
   the present invention will he seen to he both powerful and                 telephony) and could be ctuploycd for the purposes of the
   ftc..-xiblc, and capable of doing 111uch, 1nuch1 1nnrc than shnply,        present invention. If mdio were so entploycd ut least the
   and only, 111onitori11g heartbeat. '111e systc111 of the present           clwllenges of the directional, line-of-sight, tmns1nission of
   invention is, in fact, but a ntdimenlary n1icronllniaturiz.ed              light sig1u'1s tnight be 111itiguted. If n1dio were so e1nployed
   version ofu wireless rcul-thne biologicul sensorand rc..:.porting     25   then !he vitality sensor 1 lA,B would look similar to the left
   system, il1rt11er mid 1nore comprehensive versions of which                varfont of FIG. 2B.
   are both contemplated and within the scope, and the frame­                    Considering the pretCaed and primary variant ofthe vital­
   work, of the present invention.                                            ity sensorllA,13 shown th the righttuost in FIG. 213, the three
                                                                              1niniaturc layers of the solar cell 112, the n1odificd silicon
     However, this kind of swr.>cping c1ai111, and prognoslic11-
                                                                              circuitry 1112, and the hnttery 113 as were all seen in FIG.
   tion, is hut mere puffer until, and unless! so1uething(s) can be      Ju
                                                                              2A2 are no visible us part ofthe larger packugc of the vitality
   shown thal lends credence to Applicant's present claitn that
                                                                              sensor J JA,B. Now visible for the first ti1nc is thcoptica] path
   his basic systcn1 is very powerful, and exlensiblc, and expand­
                                                                              and signal trans111issio11 11 125 tbrough the car lobe, of the
   able. This showing is iunnediatcly next n1adc1 when it is
                                                                              web ofthe hand. Note that this transmission is directional, and
   explained that the "core.. ofApplicant's present systc111 is at 35
                                                                              from output infrared LED 1 1123A to infrared phototransislor
   least ten tin1cs (xlO) 1nore co111putation111ly powerful while
                                                                              receiver 1 1 1 238. "Jbgcthcr this LBD and phototrnnsistor
   being .:1t least ten titnes (xl ) snudler and consun1ing ten tilues make for blood How detector 11123.
   (xl) less enefb
                 ')' than such biologie1;il sensors as have gone          The variants shown in FIG. 2C ure ofa dit-lCrent order, and
   bctbre. In one nteusure, the waterproof optically-sensing           arc variants in packaging and not in clectn1nic circuitry. l>ia­
   fiberless-op_tie,:a1ly_-con11nunicating vita1ity 1nonitoring and 40 grantmatic perspective pictorial views of the smne first vari­
   a]anuing syste111 1 of the present invention is roughly one         ant e1uboditnent of the vitality sensor component o f the sys­
   thousand tin1cs 111orc advanced than what has gone before.               ten1 of the present invention is shown in tow different
      6.2 111e "(�ore" of the Systcn1 of the Present Invention              packagings, each primarily (but not necessarily) for use in air,
     TI1e ..core" of lhe syste1n of the present invention is the            and in n1onitoring of children, and/or inibnts as was illus­
   prior urt, 111il1hneter-scule, euergy�hnrvesting sensor syste111      45 trated in flJG. lD. These 111any varianls ure at risk of le1.1ving
   developed circa 2010 at the University of Michigan and                   the reader confused, and the interpretation of the drawings
   shown in Fl(i. 2A.1 . Comparison in size is 1nadc to the U.S.            intricate, and ti1ne constuning. The only thing that is really
   pe1u1y coin. The sensor systen1 111ay he observed to be 1nicro­            necessary ibr the reader to understand is that the systen1 and
   n1iniaturized.                                                             inethod of the present invention urc neither nurrow nor hide­
      A 111icroproccssor .11 1 1 is 111otuttcd between a topn1ost        50   bound for being (I) used in u particular scenario, (2) restricted
   solar cell 1 1 2 und a bottom battery 113, each on a separate              to o particular packaging, nor even (3) i1nple1nented with
   subs1mte and/or being a separate body. Attnc1unent ofeach in               particular electronic, and/or optical, contponents. Rather, the
   the illustrutcd stack is nomu1lly be adhesive. EIL'Clrical con­            prcsen1 invention should be intel}lrctcd broadly, and as a
   nection is between parts 112, 1 1 1 1 , and 113 is typically by            showing ofhow the very newest (circa 20 10) 1niro-1niniatur­
   wires ball-bonded to pads on each substn1te and body 112,             55   ized lllld 111icro-powered electronic and optical con1ponents
   1 1 1 1 , 1u1d 113. l3u1np puds and other connections us 1.1re             can versatilely re111ize new, und hnproved, biological 111011i�
   conunon in the interconnection of n1iniaturized electronic                 toring and 1.1l1.1rming funclions.
   circuitry 111ay altenmtivcly be used, us n1ay truces of conduc­              An electrical sche1nat'ic diagrmn ofthe vitulity sensorco1n­
   tive adhesive.                                                             ponent 11A, 1 113 shown in FIG. 2 us are extended and adapted
        To the lJniveraity of Michigan solarw tmd hattcl)'�powcrcd 60 lhr purposes uf thc present invention is shown in FIG. 3. All
   111 icrominiat11ri1.cd n1icmproccssorthe prc.'\cnt invention adds  circuil clc111cnts save added c1c1ncnts J 1 A,B3, 11 A,B5, and
   on optical heart rate detector 115 shown in FIGS. 3 and 4A,                1 1A,B7 are purt of the prior art Unh1ersity of Michigan cir�
   and the oplicnl transntltler shown in FIGS. 3 and 4B. Before               cuit. Ele111cnt 11A,B3 is, as labeled, mt EAR LOBE OF
   proceeding to the electrical circuils of these added elc111c1lls            HAND WEB BLOOD FLOW SENSOR. Elements llA,BS
   (in accordance with the present invention), the 11on1inal physi- 6� and 11 A,B7 nrc respectively, Hs labeled, FIRSl' BLUE­
   cal appearuncc of the con1plete integrated cnse1nble of the         GREEN LED OUTPUT, nnd SECOND BLUE-GREEN LED
   sensor 1 IA, �111d11!so 1111 output LEl) 11121, nu1y he observed           OUTPUT
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                                                            us 8,659,435 82
                                   17                                                                       18
      An electrical schetnatic diagrmu o f(1) the LEI) ()LJ'l'PU'l'          2 . '111esyste1n according to clahn J , whcrein thewmerproof
   sub-circuits 1 1A,BS nnd :l 1A,B7 ofthe vitnlity sensor11A,B           sensor co111prises:
   component of the present invention--prcviously seen in the                un opticul sensor of blood flow within nllcro-cupilluries of
   schcn1atic diagm111 of Fifi. ;l, are shown in FIG. 4, consisting               the rcrson's body as indicntivcofthcnctivity or inactiv­
   of FJ(i. 4A and 4B. FIG. 4B ii; u si1nplificd electrical schc­                  ity oflhe person's heart.
   nuitic diagr.un oflcss detuil tbmt is PIG. 4A, PIG. 4B focusing           3. Titc systc1n uccor<ling to cluitn 2, wherein the optical
   in the shnplicity of the LED output of the circuits 11 A,BS and        sensor is configured to be mounted to m1 enrlobe of u swin1-
   l1A,B7 off'IG. 4A, the light trans1nission through water, and          111er.
   the extrentely simple phototn1nsistor receiver circuit 13C alJ             4. 'llte systc111 according to c1ahn 2, wherein the oplicaJ
   previously seen in FIGS. 1A and tB.                               10   sensor is configured to he 111otu1lt.'ll tou web ofu buby's lluntl.
      A flow chal1 of the scnsnr syslcn1 of the present invention             S. The systcn1 uccording to clain1 I, wherein the n1011itor
   as was previously diugra1nmatically illustrated in FIG-S. JA           detennines the 1nonitorcd person's heart nctivity to he
   and l D is shown in FIG. S. The Jlow-churted micn1code is,             stopped front successive electricul siguuls received tbnt urc
   quite nnturnlly, executed by the ARM 32-BIT MICROPRO­                  unc11m1ging, and thus rcprescntutivc of u stopped, us oppos"'>d
   CESSOR shown ht the schcntatic diagratn ofFlCi. 3 in real- 1 5         to a functioning, heart.
   izing the purposes of the present invention.                               6. The systetn according to clain1 S,
      At least lhe sensor und monitor 1 lA used underwuter us                 wherein the microprocessor mid the n1en1ory <1re uctivute<l
   shown in FIG. lA, if not also other syste111 co1nponcnts, is                    periodically; and
   ntost preferably waterproofed with the "Shcllback" process                 wherein wltcn tlte 111icroprocessor and the 111cmory arc
   und product.                                                      lU            periodicnlly activuted the elect.rical signul n>ceived J'ron1
                                                                                                                                 ..


      According to these vuriutions, iutd still others within the                  the sensor is both stored und con1p1.1red to u preceding
   skill of a practilioner ofthe electrical and optical design arts,               succession (lf electrical signals already stored, the opti­
   the present invention should he considered in accordance                        cal ulnrn1 signnl being transmitted if and when n prede­
   with the fo11owing claims, only, und not solely 011 accordance                  termined nun1ber of stored electrical signals are deter-
   with those c1nhodin1ents within which the invention has been 25                  1nined to be the salne.
   taught.                                                                    7. '11te systcnt according to clain1 6,
                                                                              wherein the inicroprocessor and the men1ory are pcriodi­
      What is cluimed is:                                                          c�11ly activated every 200 ulilliseconds; und
      1.. A system for 1nonitoring the vitality or a person coin�             wherein lhe oplicu1 alarnt signal is trans111ittcd if and when
   prising:                                                                          100 stored electrical signals arc sensed to be invariant,
     a waterproof sensor configured to be n1ounted to u person,                    meaning that the sensed person's :;ensed heart uctivity
          the sensor further configured to periodically sense the                   has been unchanging for 20 seconds, m1d the sensed
          person's hcarl activity and pn1ducc an electrical signal                 pcroon's heart activity hos stopped.
          indicutivc thereof, lhe waterproof sensor having unique             8. The system according to claint 6, wherein the 111onitor
          identification information so it can be identified Ji"o111 JS further comprises:
          other sensors worn by other persons;                                a buttery providing electrical rower to the 1nicmproCCRSOf
      u waterprooftnonitor comprising                                              rutd the me111ory; and
          n1e111ory;                                                          a solur cell JOr recharging the battery from incident
          a microprocessor clcctricaJly coupled to the sensor und                   n.'CCivcd light illumination.
             configuredto receive theelcctricol signal indicative of 40       9. ·n1e systctn according lo clahn 1, wherein die optical
             the person 's heart activity, the microprocessor further      alunn signal produced by the Jight source is blue-green light
             configured to store a succession of the electrical sig­       having u wuvelcngd1 of betweeu 400 and 450 nuno111eters.
             nal!; received front the sensor in the mctnory nnd                10. The systen1 according lo clain1 I , wherein the alam1
             determine ifthe person's heart is stopped based on the        produces an audio alarm.
             stored succession of electrical signals;                  45     1 1 . The systeiu uccording lo clahn 1,
          a locatio11 1nonitoring systent for deterntining a location         wherein the walerproofsensor and the waterproof 1nonitor
             of the waterproof sensor;                                              arc integrated in a single package that is affixed to the car
          an optici:tl trnnsmiUer having n 1ight source and coupled                 lobe, or to the web of lhe hand.
             to the n1icn1proccssor, the 1nicroprocessor being fur­            12. The syste111 according to claitu l,
             ther configured to pn1duce an optical alarn1 signal so           wherein the waterproof sensor and the waterproof 111011itor
             using the light source when the 1nicroprocessor has                     are in co111billlltioo microininiaturized, and less than I
             determined the person's heart' is stopped, wherein the                  squ11re centhneter in nreu.
             oplicul ulunn signal iN 1nodul1ttcd so thnt it the signal         13. A n1cthod of n1onitoring the vitalily of u swi1n1nerwho
             fmn1 the oplical trans1nittcr includes the unique iden­       is at tin1cs sub1nergcd while swinuuing, the 1nethod compris­
             tification infbrmation that identifies the waterproof 5.5 ing:
             sensor to identify the person wearing the wuterproof              sensing with u waterproof sensor uttuched to a swiuuner
             sensor and includes location infornu1tion to dctcnninc                  blood flow in the switnmcr;
             the location of the waterproof sensor;                            Jlroducing u succt."Ssion of electrical signals indicative of
      1111 optical rt.>ceiver cotnprising a detector configured to                   the swiuuncr•s heartbeat over tin1e;
          receive the optical ulunn signal, thcopticul receiver con- 60        r1.'Cciving, in a n1onitor attached to the swinuner, the suc­
          figured to trJnsforin the alann signul and conununicatc                    cession ofelectrical signals front thcwatcr(lroofscnsor;
          the transJbn11ed alunn signal; and                                   storing und inlerpreting, in the n1onitor, the succession of
      a co1nputer t.-onfigured to receive the transJOrmed ahinn                      elt..-ctricul signals;
          signal and dctcnninc the identity of the person to which             dcten11ining a location of lhc waterproof sensor;
          the waterproofsensor is ntluchcd, delennine the location 65          tn1ns1nit1ing mt oplicul ulam1 signnl when the succession of
          ofthe waterproofsensor, und uctivute mt ulurnt bused on                    signals indicates that t11e swimn1cr's heart has stopped,
          the transt(lmted alonn sigiml.                                             wherein the optic�1l alanu signili is 111odulatcd and
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                                19                                                                   20
         includes unique identification infonnation that identifies       18, The n1cthod according to c1ain1 17,
         the waterproof sensor to identUY a person weuring the            wherein the running ofnticrocodc in the 1nicropn1cessor,
         waterproof sensor with particularity ;;md location in10r­           and the periodic<illy storing within a mcntory, occur
         nu1tion o r the waterproof sensor;                                  C..'VCI)' 200 1nilliscconds; and
      receiving in an optical receiver any optical alnnn signal 5
                                                                          wherein the opticul ulnrm signal is trunsn1itte<l when 100
         transntltted fi'ou1 U1e n1onitor, and producing respon­
                                                                             stored electrical signals ure sensed to be invnritu1t.
         sively thcrclo a tmnsfbnned ulonn signal; and
                                                                          19. 111e n1ethod according to cluin1 13, furthercon1prising:
      recoiving tho tr..u1sfon11cd nlann signal, identifying wilh
         particularity the pcn;on wearing the waterproof sensor        providing electrical power fro1n a buttery to the sensor; and
         using the unique identification infonnation, dctcnnining      recharging with a solar cell the battery fron1 received a1nhient
                                                                    10
         the location of the waterproof sensor u:dng the local ion     light illun1ination.
         infOnnntion, and activating 1111 alunu based then.'On.            20. The 1uethod according to cfaitn 13, wherein the optical
      14. Thc1uethod according to clahu 13, wherein the sensing        ulllnu signal is blue-green light having a wavelength of
   is ofb]ood flow co1nprlses:                                         between 400 �ind 450 nanontctcrs.
      optically sensing blood flow within the 1nicro-cupilluries of        21. 111c n1cthod according to cluin1 13, furthcrco1nprising:
                                                                    15
         the swim1ncr's cur lobe as 1111 indication of the swim­       wuterproofiug at least the sensor and the monitor are both so
         n1cr's heartbeat.
                                                                       watcrpn1of by coating with u ln1nspurent polymer, which
      15. The 1nethod according to cluitn 13, wherein said in1er­
                                                                       transparent Polyn1er neither interieres with any optical path
   prcting in the n1onitor dctcnnincs the 111onitorcd JlCBon's
                                                                       Jbr tbe sensing in and with a sensor blood flow in and of the
   heart activity to be stopped fro1n successive electrical signals
                                                                    20 swi111mer, nor any trans1nitting of the optical ular111 signal
   received from the sensor that are mtchanging, and thus rep­
                                                                       fro1n the n1onitor.
   resentative of i1 stopped, us opposed to a funclioning, heart.
                                                                           22. The systc111 ofclain1 1, wherein the alunu is not located
      16. ·1·hc 111cthod according to claim 13, wherein the storing
                                                                       in the s1nne mo111 as the person.
   and interpreting in the 1nonitor comprfacs:
                                                                           23. The syste1n ofcJahu 22, wherein the transfonned ulnnn
      ruruling microcode in a n1icroprocessor;
                                                                     5 signal is con1n1unicatcd to a computer.
      periodically storing within u n1ernory the received e1ectri- 2
                                                                           24. 'Ilic systcn1 of c1uint 1, fllrthcr con1prising a global
         cal signals; and
                                                                       positioning syste1u (GPS) that is configured to deten1line the
      interpreting the stored electrical signals to determine
                                                                        loculion ofthe waterpn1of sensor.
         whether a most recent su<.-ccssion ure all the sume indi­
                                                                           25. ·n1c n1ethod of claint 13, \\'herein detennining location
         cating that potentially heart activity has stopped.
                                                                       o:f the sensor comprises using a global positioning systc111
       17. The 1nethod according to c1ailn 16, wherein said n111- 30
   ning microcode in the micropnlCessor, and the periodically
                                                                       (GPS) to detennine the waterproof irensor location.
   storing within u me111ocy, occur periodically to suve power.                                    •  '    •     *
